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                                                                       FILED
                                                                      U.S. DISTRICT COURT
              IN THE UNITED STATES DISTRICT COURT EASTERNDISTRICTARKANSAS
                 EASTERN DISTRICT OF ARKANSAS         APR 1 2012
                       WESTERN DIVISION        JAMES
                                                             By:_~+W'--+f-lf-~~-==


UNITED STATES OF AMERICA                                             PLAINTIFF


v.                      Nos. 4:11-cr-98-DPM-05


BRANDON DOWD                                                    DEFENDANT


                                      ORDER

      At the 19 April2012 hearing, the Court granted the government's oral

motion to dismiss the indictment, and the superseding information, as to

Dowd. All charges against Dowd are dismissed without prejudice. The trial

set for 20 April 2012 is cancelled.

      So Ordered.

                                        ~d/rfo.
                                      D.P. Marshall Jr.
                                      United States District Judge
